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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 21-2715 MWF (RAOx)                                    Date: October 14, 2021
 Title       Michael Karr v. United States, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

       The Complaint in this action was filed on March 29, 2021. (Docket No. 1).
 On June 14, 2021, the Court issued its first Order to Show Cause (“First OSC”).
 (Docket No. 6). In response to the First OSC, Plaintiff filed a Proof of Service
 (“POS”) on June 28, 2021. (Docket No. 15). On September 14, 2021, the Court
 issued its second Order to Show Cause (“Second OSC”). (Docket No. 16). In
 response to the Second OSC, Plaintiff filed an Application for Clerk to Enter
 Default on October 1, 2021. (Docket No. 17).

        On October 4, 2021, the Clerk of Court issued a Notice of Deficiency
 (“NoD”) regarding Plaintiff’s Application for Clerk to Enter Default. (Docket No.
 18). The NoD reflects that the POS lacked required information. The docket entry
 for the NoD indicates that the Defendants should be served pursuant to Federal
 Rule of Civil Procedure 4(i)(1)(A).

        The Court notes that in its Second OSC, it warned that Orders to Show
 Cause are not issued as a reminder for Plaintiff to prosecute this action, and that
 the Court would not issue another OSC. However, because it appears to the Court
 that Plaintiff has made an effort to respond to the First and Second OSCs, the
 Court now ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than OCTOBER 28, 2021.


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                             UNITED STATES DISTRICT COURT
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             Proper Proofs of Service of the Summons and Complaint on all
              Defendants.

        If Plaintiff does not properly serve the Summons and Complaint and file
 Proofs of Service by OCTOBER 28, 2021, this action will be dismissed without
 further warning. No oral argument on this matter will be heard unless otherwise
 ordered by the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will
 stand submitted upon the filing of the response to the Order to Show Cause.

         IT IS SO ORDERED.

                                                                 Initials of Preparer: RS/sjm




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